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 4   rlee@consumerlawcenter.com
     Attorneys for Plaintiff,
 5   Kimberly Arcoleo
 6
                                  UNITED STATES DISTRICT COURT
 7                                    DISTRICT OF ARIZONA

 8   Kimberly Arcoleo,                             ) Case No.: CV-11-1362-PHX-ROS
                                                   )
 9                Plaintiff,                       )
            v.                                     ) NOTICE OF SETTLEMENT
10   Encore Receivable Management, Inc.,           )
                                                   )
11                                                 )
                    Defendant.                     )
12                                                 )
                                                   )
13                                                 )

14                                      NOTICE OF SETTLEMENT

15          NOW COMES Plaintiff, Kimberly Arcoleo (“Plaintiff”), by and through the undersigned
16   counsel, and hereby informs the Court that a settlement of the present matter has been reached and
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     all parties to the present matter are currently in the process of executing the aforementioned
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     settlement agreement, which Plaintiff anticipates will be completed within the next 30 days.
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            Plaintiff therefore requests that this Honorable Court vacate all dates currently set on
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21   calendar for the present matter.

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     _______________________________________________________________________________________________
                                            Notice of Settlement
       Case 2:11-cv-01362-ROS Document 20 Filed 03/27/12 Page 2 of 3



 1   DATED: March 27, 2012                    RESPECTFULLY SUBMITTED,

 2                                            KROHN & MOSS, LTD.

 3
                                         By: /s/ Ryan Lee
 4
                                              Ryan Lee (SBN: 024846)
 5                                            Krohn & Moss, Ltd.
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 6                                            Los Angeles, CA 90025
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 8                                            Attorneys for Plaintiff,
                                              Kimberly Arcoleo
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                                          Notice of Settlement
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 1                                    CERTIFICATE OF SERVICE
 2          I hereby certify that on March 27, 2012, I electronically filed the foregoing Notice of

 3   Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was
 4
     electronically submitted to all parties by the Court’s CM/ECF system.
 5

 6

 7                                              By:       /s/ Ryan Lee
 8                                                         Ryan Lee (SBN: 024846)
                                                           Krohn & Moss, Ltd.
 9                                                         10474 Santa Monica Blvd., Suite 401
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                                                           Attorneys for Plaintiff,
12                                                         Kimberly Arcoleo
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     _______________________________________________________________________________________________
                                            Notice of Settlement
